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 1

 2
                                                                             FILED IN THE
                                                                         U.S. DISTRICT COURT

 3                                                                 EASTERN DISTRICT OF WASHINGTON



                                                                    Jan 27, 2023
 4                                                                      SEAN F. MCAVOY, CLERK



 5                         UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                   No. 4:22-cr-06040-MKD

 8                             Plaintiff,        ORDER GRANTING
                                                 DEFENDANT’S MOTION TO
 9                v.                             CONTINUE AND THIRD CASE
                                                 MANAGEMENT ORDER
10   ANDREI STEPHANOVICH
     BORGHERIU,                                  ECF No. 22
11
                               Defendant.
12

13         Before the Court is Defendant’s Unopposed Motion to Continue, ECF

14   No. 22. On January 26, 2023, the Court held a pretrial conference. Justin

15   Lonergan appeared on behalf of Defendant. Frieda K. Zimmerman appeared on

16   behalf of the United States. Kristina Terra provided interpretation services for

17   Defendant.

18       Defendant states a continuance in this matter is necessary to allow his counsel

19   adequate time for discovery and to prepare for trial. Defendant indicated there is

20   substantial discovery in this matter, he has requested additional discovery from the


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 1   United States that is forthcoming, and he anticipates pretrial motion practice.

 2   Defendant has filed a Waiver of Speedy Trial Rights, accompanied by a Statement

 3   of Reasons, in support of the motion. ECF No. 24. The United States does not

 4   object to a continuance in this matter.

 5        The Court has reviewed the file, has heard from counsel, and is fully

 6   informed. The Court finds that, taking into account the exercise of due diligence,

 7   the current trial date of February 13, 2023, would deprive defense counsel of

 8   adequate time to obtain and review discovery and conduct effective preparation.

 9   18 U.S.C. § 3161(h)(7)(B)(iv). Therefore, the Court finds that the ends of justice

10   are served by a continuance in this matter and further that the ends of justice served

11   by a continuance outweigh the best interests of the public and Defendant in a

12   speedy trial. 18 U.S.C. § 3161(h)(7)(A).

13         Accordingly, IT IS HEREBY ORDERED:

14         1.     Defendant’s Motion to Continue Trial, ECF No. 22, is GRANTED.

15         2.     The current trial date of February 13, 2023, is STRICKEN and

16         RESET to September 25, 2023, at 9:00 a.m., commencing with a final

17         pretrial conference at 8:30 a.m. Trial shall take place in Richland,

18         Washington.

19         3.     A pretrial conference is SET for August 28, 2023, at 1:30 p.m. in

20         Richland, Washington.


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 1        4.    Counsel for defense shall notify Defendant of all hearings and ensure

 2        Defendant's attendance at court.

 3        5.    Local Criminal Rules. Counsel shall comply with the Eastern

 4        District of Washington Local Criminal Rules of Procedure (LCrR), except

 5        where specifically modified below or by subsequent Order.

 6        6.    Emailing the Court. Where this Order requires counsel to email

 7        documents to the Court, all documents shall be attached to the email in

 8        Microsoft Word (.doc/.docx) or rich-text (.rtf) format. The subject line of

 9        each email shall be formatted as follows:

10                     [Case No.]; [Case Name]; [Title of Document]

11                     (e.g.: 13-cr-9999-MKD; USA v. Doe; Trial Brief)

12        7.    Discovery

13              A.     All discovery documents must be Bates-stamped with a unique

14                     identifier and must be produced digitally in a text-searchable

15                     format. The Court will grant relief from this requirement only

16                     in exceptional circumstances, upon motion and good cause

17                     shown.

18              B.     Production of discovery shall be governed by Local Criminal

19                     Rule 16. See LCrR 16.

20


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 1                  C.    The Court presumes a request for discovery and disclosure

 2                        under Federal Rules of Evidence 404(b), 608(b), and 609,

 3                        Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States,

 4                        405 U.S. 150 (1972), United States v. Henthorn, 931 F.2d 29

 5                        (9th Cir. 1991), and their progeny, and as such these items are

 6                        ordered disclosed by the deadline set forth in Local Criminal

 7                        Rule 16.

 8                  D.    At arraignment or within 14 days thereafter, the United States is

 9                        required to disclose evidence relating to Defendant’s guilt or

10                        punishment that might reasonably be considered favorable to

11                        the Defendant. See LCrR 16(a)(6); see also Brady, 373 U.S.

12                        83; United States v. Agurs, 427 U.S. 97 (1976); Fed. R. Crim.

13                        P. 5(f). 1 This is a continuing duty for newly discovered

14                        evidence. LCrR 16(c); see also ECF No. 15.

15                  E.    Pursuant to Federal Rule of Criminal Procedure 16(d)(2),

16                        failure to comply may result in an order permitting the

17

18   1
         Nothing in this requirement enlarges or diminishes the United States’ obligation

19   to disclose information and evidence to the Defendant under Brady and its

20   progeny.


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 1                    discovery or inspection; granting a continuance; or any other

 2                    order that is just under the circumstances (including contempt,

 3                    sanctions, referral to a disciplinary authority, dismissal of

 4                    charges, exclusion of evidence or witnesses, and adverse jury

 5                    instructions).

 6        8.    Expert Witness Summaries

 7              A.    When each party produces to opposing counsel summaries of

 8                    its expert witness testimony for which disclosure is required

 9                    under Federal Rule of Criminal Procedure 16 and Local

10                    Criminal Rule 16, counsel shall also email an electronic copy of

11                    the summary to the Court at DimkeOrders@waed.uscourts.gov.

12              B.    All summaries of expert witness testimony must conform to

13                    Federal Rule of Criminal Procedure 16, Local Criminal Rule

14                    16, and applicable case law interpreting those Rules. The Court

15                    will not permit an expert witness to testify about opinions

16                    which are not explicitly expressed in that expert’s summary.

17                    See, e.g., United States v. W.R. Grace, 526 F.3d 499 (9th Cir.

18                    2008).

19        9.    CM/ECF Technical Assistance. Parties requiring technical

20        assistance concerning the CM/ECF system, such as the procedures for filing


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 1        non-scannable exhibits, shall consult the District’s “Electronic How To”

 2        page (https://www.waed.uscourts.gov/electronic-how) or contact the

 3        CM/ECF Help Desk by phone at (866) 236-5100 or (509) 458-3410 or by

 4        email at ecfinfo@waed.uscourts.gov. Inquiries requesting technical

 5        assistance concerning the CM/ECF system shall not be directed to the

 6        Judge’s chambers.

 7        10.   Motions Practice

 8              A.    Generally. All motions shall either be: a) noted for hearing

 9                    without oral argument fourteen (14) days after filing, or b)

10                    noted for hearing with oral argument at the pretrial conference

11                    pursuant to Local Criminal Rule 12(c). Responses and replies

12                    to motions must be filed in accordance with Local Criminal

13                    Rule 45 and 47, which incorporate the requirements of Local

14                    Civil Rule 7.1.

15              B.    Expedited Hearing. Any party seeking an expedited hearing

16                    on a time-sensitive matter must comply with Local Criminal

17                    Rule 12(c)(3).

18              C.    If a case has more than one defendant, the Court will construe

19                    any motion, including motions to continue, as applying to all

20                    defendants, unless that defendant indicates they do not wish to


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 1                      be joined in the motion. Defendants thus do not need to file

 2                      motions to join. Any Defendant wishing to opt out of a

 3                      motion shall file a notice so stating within seven days of the

 4                      filing of the motion.

 5              D.      Sealed Documents. Any and all sealed documents shall be

 6                      filed by the parties under the sealed event as a sealed document.

 7                      The parties are not required to file a separate motion to seal a

 8                      document. The parties shall file any objections to a sealed

 9                      document by no later than five days after the filing of the sealed

10                      document. The Court will thereafter review the sealed

11                      document and any objections filed to determine whether the

12                      document should be unsealed. Any party filing a sealed

13                      document shall email DimkeOrders@waed.uscourts.gov to

14                      inform the Court of the filing. The email shall note the ECF

15                      number of the sealed document and the general nature of the

16                      document.

17        11. Witness Testimony. At any hearing, including trial, in which witness

18        testimony is given, the witness must testify in Court. Absent exceptional

19        circumstances, a testifying witness may not appear by telephone or video

20        conference.


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 1           12.   Trial Continuances

 2                 A.      Motion Deadline. All motions to continue the trial must be

 3                         heard before or at the pretrial conference. Any motion to

 4                         continue trial made after the pretrial conference has

 5                         occurred will not be granted absent exceptional

 6                         circumstances.

 7                 B.      Statement of Reasons. If the Defendant seeks a continuance, a

 8                         Speedy Trial Waiver and Statement of Reasons in support of

 9                         the motion to continue must be filed contemporaneously with

10                         the motion. 2 The Statement of Reasons must 1) be signed by

11                         the Defendant, 2) be signed by a certified translator, if

12                         applicable, and 3) indicate the latest date upon which Defendant

13                         is willing to proceed to trial. The Court requests that the

14                         Speedy Trial Waiver and Statement of Reasons extend two

15
     2
         The Court’s Speedy Trial Waiver and Statement of Reasons form can be found at
16
     the following link:
17
     https://www.waed.uscourts.gov/sites/default/files/forms/Speedy%20Trial%20Waiv
18
     er%205-13-22.docx
19

20


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 1                        weeks past the new proposed trial date.

 2                 C.     Procedure. Before filing a motion to continue, counsel shall

 3                        first contact the Courtroom Deputy at (509) 943-8172 to obtain

 4                        new pretrial conference and trial dates consistent with the

 5                        length of the requested trial continuance. Thereafter, counsel

 6                        shall confer with opposing counsel regarding case management

 7                        deadlines 3 consistent with the new pretrial conference and trial

 8                        date. All motions to continue must include proposed case

 9                        management deadlines (either joint or individual) to ensure

10                        the to-be-imposed deadlines are best suited to this case.

11           13.   Pretrial Conference

12                 A.     The Pretrial Conference is scheduled as indicated in the

13                        Summary of Deadlines below. At this hearing, the Court will

14                        hear ALL pretrial motions that are noted for oral argument.

15
     3
         A form with the Court’s standard case management deadlines can be found at the
16
     following link:
17
     https://www.waed.uscourts.gov/sites/default/files/forms/Proposed%20Case%20Ma
18
     nagement%20Deadlines%20Form%20for%20Public%20Website.6.1.2022.pdf
19

20


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 1             B.    All pretrial conferences are scheduled to last no more than

 2                   thirty (30) minutes, with each side allotted fifteen (15)

 3                   minutes to present their own motions and resist motions by

 4                   opposing counsel. If any party anticipates requiring longer than

 5                   fifteen minutes, that party must notify the Courtroom Deputy at

 6                   least seven (7) days prior to the hearing. Any party who fails

 7                   to provide this notice will be limited to fifteen (15) minutes.

 8             C.    If a motion is to be heard with oral argument, and a party plans

 9                   to call witnesses or present exhibits, that party must file an

10                   exhibit and/or witness list by no later than 72 hours before the

11                   hearing on the motion.

12             D.    If a party intends to use a laptop, thumb drive, or DVD or CD

13                   for presentation of documents, or audio or video recordings,

14                   that party must contact the Courtroom Deputy at least one week

15                   prior to the hearing and confirm the compatibility of the

16                   technology and equipment.

17             E.    If a party intends to use a demonstrative exhibit, such as a

18                   PowerPoint presentation, it must be submitted to the Court and

19                   all opposing parties at least 24 hours prior to its intended use.

20       14.   Exhibit Lists


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 1             A.    On the date set forth in the Summary of Deadlines, after

 2                   conferring with counsel, each party shall file a list of exhibits

 3                   the party intends to introduce at trial. Each party shall also

 4                   email copies of their exhibit list to the Court at

 5                   DimkeOrders@waed.uscourts.gov.

 6             The parties shall provide their exhibit list in the following format:

 7                     Ex. #    Admitted Description

 8                     1                     Photograph of items seized

 9                     2                     Aerial video surveillance from 1/1/2011.

10                                           Start Time: 01:03:23

11                                           End Time: 01:09:54

12

13                   Exhibit lists shall include a unique exhibit number and a brief

14                   description of the exhibit. For all exhibits consisting of an

15                   audio or video file, the exhibit list must designate the precise

16                   beginning and ending time indexes of the portion of the file the

17                   party intends to use at trial.

18             B.    The United States shall consecutively number their exhibits

19                   from 1 to 999. In single-defendant cases, Defendant shall

20                   consecutively number exhibits from 1000 to 1999; in multi-


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 1                    defendant cases, Defendants shall consecutively number

 2                    exhibits from x000 to x999, substituting “x” for each

 3                    Defendant’s assigned case identifier (e.g. Defendant 3 would

 4                    number exhibits from 3000 to 3999, etc.). Exhibits shall be

 5                    pre-marked for identification before trial commences.

 6       15.   Witness Lists. On the date set forth in the Summary of Deadlines,

 7       after conferring with counsel, each party shall file and serve a list of

 8       witnesses that party intends to call to testify at trial. The witness list must

 9       identify the existence, but need not include the name, of any confidential

10       informant (CI) the United States intends to call to testify. Parties shall

11       email copies of their witness list to the Court at

12       DimkeOrders@waed.uscourts.gov.

13       16.   Trial Briefs, Proposed Jury Instructions and Verdict Form, and

14       Requested Voir Dire. On the date set forth in the Summary of Deadlines,

15       after conferring with counsel, each party shall file a trial brief, proposed jury

16       instructions and verdict form, and requested voir dire, in accordance with the

17       requirements below. Each party shall email copies to the Court at

18       DimkeOrders@waed.uscourts.gov.

19

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 1             A.    Trial Briefs. Trial briefs shall not exceed twenty (20) pages

 2                   without prior Court approval, upon motion and good cause

 3                   shown.

 4             B.    Proposed Jury Instructions and Verdict Form. Jury

 5                   instructions shall 1) address issues that are unique to the case,

 6                   and 2) include instructions regarding the elements of each

 7                   charge or defense. If a Ninth Circuit Model Jury Instruction

 8                   exists for a particular charge or defense, the parties shall

 9                   provide the model instruction or shall submit argument as to

10                   why the instruction is inadequate or no longer supported by

11                   law. Proposed jury instructions shall be accompanied by a

12                   proposed verdict form. The parties must confer to develop

13                   joint proposed jury instructions and the verdict form. The

14                   Court will only accept an individual party’s proposed jury

15                   instructions on those points/issues upon which the parties could

16                   not agree, and only if the party’s memoranda accompanying the

17                   individually-proposed instruction(s) sets forth the legal

18                   authority and justification for why the instruction is necessary.

19             C.    Requested Voir Dire. The parties may request that the Court

20                   include specific questions during the Court’s standard voir dire.


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 1                        Requested voir dire shall not duplicate information elicited in

 2                        the Clerk’s Office Jury Questionnaire (“COJQ”) and the

 3                        Court’s Criminal Jury Trial Procedures Letter.

 4           17.    Exhibit Binders. On the date set forth in the Summary of Deadlines,

 5           after conferring with counsel, each party must provide to all other parties

 6           and to the Court a Bates-stamped copy of all trial exhibits — or, in the case

 7           of physical exhibits, a photograph or other reproduction of the exhibit — the

 8           party intends to introduce at trial. All trial exhibits shall be organized

 9           sequentially by exhibit number in a three-ring binder.

10           18.    JERS.

11                  A.    The Court utilizes the Jury Evidence Recording System (JERS),

12                        a system that makes electronic evidence available in the jury

13                        room during deliberations. Counsel shall promptly consult

14                        the Court’s “JERS Instructions for Attorneys” 4 to ensure

15                        they acquire, retain, and provide evidence to the Court in

16                        the necessary format.

17

18   4
         This document can be found on the Court’s public website at the following link:

19   https://www.waed.uscourts.gov/sites/default/files/support/jers_basics_for_lawyers.

20   pdf


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 1             B.     On the date set forth in the Summary of Deadlines, after

 2                    conferring with counsel, each party who intends to introduce

 3                    evidence at trial must supply a CD, DVD, or USB drive to the

 4                    Courtroom Deputy containing all of that party’s exhibits in the

 5                    required format. Counsel may contact the Courtroom Deputy at

 6                    (509) 943-8172 with any questions.

 7       19.   Trial Notices. On the date set forth in the Summary of Deadlines,

 8       after conferring with counsel, each party shall file a notice that indicates the

 9       amount of time requested for opening statement and for voir dire. In

10       addition, defense counsel must indicate if his/her client waives presence at

11       sidebar and jury questions.

12       20.   Technology Readiness Meeting. On the date set forth in the

13       Summary of Deadlines, any party seeking to offer video or audio evidence at

14       trial must meet with Court staff at the location of the trial to verify

15       compatibility with the Court’s presentation systems. The parties shall

16       contact the Courtroom Deputy at (509) 943-8172 to arrange this meeting.

17       21.   Trial. The jury trial is SET for September 25, 2023, at 9:00 a.m. in

18       Richland, Washington. The final pretrial conference will commence at

19       8:30 a.m. on the first day of trial.

20       22.   Summary of Deadlines


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 1    Rule 16 Disclosure of United States’ Expert
                                                            May 15, 2023
      Witnesses
 2    All pretrial motions, including discovery
      motions, Daubert motions, and motions in              July 31, 2023
 3    limine, filed
      PRETRIAL CONFERENCE                                   August 28, 2023
 4    Deadline for motions to continue trial                1:30 p.m. - RICHLAND
      CIs’ identities and willingness to be interviewed
 5                                                          September 11, 2023
      disclosed to Defendant (if applicable)
      Grand jury transcripts produced to Defendant
 6
                     Case Agent:
                                                            September 11, 2023
                     CIs:
 7
                     Other Witnesses:
 8    Exhibit lists filed and emailed to the Court          September 18, 2023
      Witness lists filed and emailed to the Court          September 18, 2023
 9    Trial briefs, jury instructions, verdict forms, and
                                                            September 11, 2023
      requested voir dire filed and emailed to the Court
10    Exhibit binders delivered to all parties and to the
                                                            September 18, 2023
      Court
11    Delivery of JERS-compatible digital evidence
                                                            September 18, 2023
      files to the Courtroom Deputy
12    Trial notices filed with the Court                    September 18, 2023
      Technology readiness meeting (in-person)              September 18, 2023
13
                                                            September 25, 2023
      FINAL PRETRIAL CONFERENCE
                                                            8:30 a.m. - RICHLAND
14
                                                            September 25, 2023
      JURY TRIAL
15                                                          9:00 a.m. - RICHLAND

16        23.    A Waiver of Speedy Trial Rights, accompanied by a Statement of

17        Reasons, has been signed and filed by Defendant. ECF No. 24. All time

18        from the current trial date of February 13, 2023, to the new trial date of

19        September 25, 2023, is EXCLUDED for speedy trial calculations pursuant

20        to 18 U.S.C. § 3161(h)(7).



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 1         24.   All time from the filing of Defendant’s Motion to Continue on

 2         January 19, 2023, to the date of the motion hearing on January 26, 2023, is

 3         excluded for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).

 4         IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

 5   and provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals

 6   Service.

 7         DATED January 27, 2023.

 8
                                   s/Mary K. Dimke
 9                                MARY K. DIMKE
                           UNITED STATES DISTRICT JUDGE
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     ORDER GRANTING DEFENDANT’S MOTION TO CONTINUE AND
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